                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
FJN:SK/ADW/EMR                                      271 Cadman Plaza East
F.#2015R00471 / OCDETF #NY-NYE-777                  Brooklyn, New York 11201



                                                    February 28, 2025

By ECF

The Honorable Robert M. Levy
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Rafael Caro Quintero
                      Criminal Case No. 15-208 (S-3) (FB)

Dear Judge Levy:

                The government respectfully submits this memorandum in support of its
application for a permanent order of detention for the defendant Rafael Caro Quintero, also
known as “RCQ,” “Cesar,” “Don Rafa,” “Rafa,” “El Senor,” “28,” “R1,” “Compa,” “El
Hombre,” “El Pleve,” “El Canoso,” “El Crespo,” and “the Old Man,” the leader of the Caro
Quintero Drug Trafficking Organization, a violent drug trafficking organization based in
Mexico. The defendant was arrested by Mexican authorities on July 15, 2022. He was expelled
from Mexico to the United States on February 27, 2025, and is scheduled to appear before the
Court tomorrow for an arraignment on the Third Superseding Indictment (the “S-3 Indictment”)
in this case. For the reasons set forth below, at his arraignment, the Court should enter a
permanent order of detention, as no condition or combination of conditions can assure the safety
of the community or the defendant’s appearance at trial.
                                   STATEMENT OF FACTS

I.     Caro Quintero’s Leadership of the Guadalajara Cartel1

                The defendant Rafael Caro Quintero is one of the most notorious drug lords of the
modern era. Starting at least as early as January 1980, the defendant led a powerful international
drug trafficking organization based in Mexico (the “Caro Quintero DTO”). During its earliest
iteration, the Caro Quintero DTO was part of the Guadalajara Cartel, also known as “La
Federación,” which later evolved into the modern day Sinaloa Cartel, the largest drug trafficking
organization in the world. The defendant co-founded the Guadalajara Cartel with several other
major drug traffickers, and it was the dominant drug cartel in Mexico throughout the 1980s. The
Caro Quintero DTO and other groups under the Guadalajara Cartel umbrella trafficked enormous
quantities of marijuana and cocaine into the United States. Indeed, the Guadalajara Cartel
partnered with Colombian cocaine manufacturers and pioneered the trafficking of cocaine
through Central America and Mexico into the United States. The defendant’s prolific drug
trafficking eventually earned him the nickname “El Narco de Narcos,” or “the Narco of Narcos.”
The Caro Quintero DTO also trafficked large amounts of heroin and methamphetamine into the
United States.

               In the 1980s, the defendant was especially known for his trafficking of multi-ton
quantities of marijuana, which was grown on large plantations. Between 1980 and 1985, the
defendant controlled marijuana plantations in the Mexican states of Chihuahua, Sonora, and
Sinaloa. Each plantation was thousands of hectares in size and worked by thousands of workers.
Guards armed with pistols and AK-47s oversaw the plantations.

               The defendant routinely enforced discipline over the Caro Quintero DTO through
violence. For example, the defendant has admitted to co-conspirators and associates that he
punished workers who stole from him or betrayed him with beatings and death. In 1984, one or
more witnesses observed a security guard execute a worker accused of stealing from the
defendant by shooting him in the head. In another instance in 1984, one or more witnesses saw
the body of a dead man with his hands tied behind his back at Rancho Bufalo, another marijuana
plantation controlled by the defendant.

               As part of his efforts to protect the Caro Quintero DTO, the defendant ordered the
murder of a law enforcement agent. Drug Enforcement Administration (“DEA”) Special Agent
Enrique “Kiki” Camarena was assigned to the DEA resident office in Guadalajara, Mexico in the
early 1980s. The defendant believed that Camarena was responsible for leading the Mexican

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          As permitted by the Second Circuit, the government proceeds by factual proffer in
support of its motion for a permanent order of detention. See United States v. LaFontaine, 210
F.3d 125, 130–31 (2d Cir. 2000); United States v. Ferranti, 66 F. 3d 540, 542 (2d Cir. 1995). As
this proffer seeks only to articulate facts sufficient to justify detention, it is not a complete
statement of all the evidence of which the government is aware or which it will seek to introduce
at trial.




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government to seize Caro Quintero’s largest ranch in Chihuahua, the Rancho Buffalo. In
February 1985, Special Agent Camarena was kidnapped, tortured, and murdered by members of
the Caro Quintero DTO. Later in 1985, the defendant was arrested and convicted in Mexico for
his role in the deaths of Special Agent Camarena and three other people. A Mexican court
sentenced the defendant to 40 years’ imprisonment, but he was released from prison before
serving his full sentence.

II.    Caro Quintero’s Leadership of the Caro Quintero DTO from Prison

               During his imprisonment, the defendant continued to direct the activities of the
Caro Quintero DTO by giving orders to family members and associates. Indeed, the Caro
Quintero DTO continued to operate enormous marijuana plantations while the defendant was in
prison, and the defendant personally directed others regarding the production and transportation
of marijuana, which was often transported via small airplanes and trucks. The defendant also
conferred with co-conspirators about smuggling cocaine into the United States, the proceeds of
which were shared with the defendant due to his role as the leader of the DTO.

               In 2013, a Mexican state court ordered the defendant’s premature release from
prison, though a Mexican federal court issued a new arrest warrant just days after the defendant’s
release. After his release, the defendant immediately went into hiding and continued to
personally lead the Caro Quintero DTO.

III.   Caro Quintero’s Leadership of the Caro Quintero DTO After His Release from Prison

                After the defendant’s release from prison in 2013, the defendant continued to lead
the Caro Quintero DTO. Because a new arrest warrant had been issued for the defendant in
Mexico, other members of the Caro Quintero DTO went to great lengths to protect the defendant
from being recaptured. Indeed, the defendant avoided using phones or electronic
communications and usually only agreed to in-person meetings through intermediaries. For
example, in June 2016, two co-conspirators boarded a plane at a private airstrip in Sonora, which
then flew for several hours to a location in Sinaloa. Upon landing, an armed member of the Caro
Quintero DTO met the two co-conspirators and drove the two co-conspirators to a ranch, where
the defendant was waiting. The co-conspirators then spoke to the defendant about smuggling
heroin and marijuana to the United States. During that conversation, the defendant explained
that he would continue to traffic drugs so he could earn money that would allow him to continue
living in the mountains and avoid the Mexican authorities. The defendant also asked the co-
conspirators about new drug routes to the United States and potential buyers in the United States.
As of 2016, the Caro Quintero DTO had distribution networks in various parts of the United
States, including New York City, Arizona, and elsewhere.

                Intercepted electronic messages also show that after the defendant’s release, the
Caro Quintero DTO continued to traffic large quantities of controlled substances. Members of
the Caro Quintero DTO also continued to possess and use firearms to further their drug
trafficking activities after the defendant’s release in 2013. Additionally, in 2016, the defendant
ordered the murder of a co-conspirator who the defendant believed to be cooperating with U.S.




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law enforcement. Members of the Caro Quintero DTO searched for the co-conspirator but were
unable to locate him.


     IV.      Foreign Authorities’ Arrest and Expulsion of Caro Quintero

                On July 26, 2018, a grand jury sitting in the Eastern District of New York
returned the S-3 Indictment. Count One charges the defendant with leading a continuing
criminal enterprise, in violation of Title 21, United States Code, Sections 848(a), 848(b), and
848(c). Counts Two and Three charge the defendant with conspiring to distribute cocaine,
heroin, methamphetamine, and marijuana, knowing and having reasonable cause to believe that
those drugs would be unlawfully imported into the United States, in violation of Title 21, United
States Code, Sections 959(a), 959(d), 960(a)(3), 960(b)(1)(A), 960(b)(1)(B)(ii), 960(b)(1)(G),
960(b)(1)(H) and 963. Count Four charges the defendant with the use of firearms in furtherance
of his drug trafficking crimes, in violation of Title 18, United States Code, Sections
924(c)(1)(A)(i), 924(c)(1)(A)(ii) and 924(c)(1)(A)(iii). Count One carries a mandatory minimum
sentence of life imprisonment, and the possibility of the death penalty, if the defendant is
convicted. Each of Counts Two, Three, and Four carries a mandatory minimum of 10 years’
imprisonment and a statutory maximum of life imprisonment.

             On July 15, 2022, Mexican law enforcement authorities arrested the defendant in
Mexico. The defendant was expelled from Mexico and arrived in the Eastern District of New
York on February 27, 2025.

                                           ARGUMENT

I.         Legal Standards

                Under the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., a federal court must order
a defendant detained pending trial where it determines that “no condition or combination of
conditions would reasonably assure the appearance of the person as required and the safety of
any other person and the community[.]” 18 U.S.C. § 3142(e). A presumption of dangerousness
and risk of flight arises when a defendant is charged with an offense under the Controlled
Substances Act or the Controlled Substances Import and Export Act that carries a maximum term
of imprisonment of 10 years or more and the Court finds probable cause to believe that the
defendant committed such offense. 18 U.S.C. § 3142(e)(3)(A). Probable cause may be
established by the sheer fact that a grand jury has returned an indictment charging the defendant
with the offense in question. See United States v. Contreras, 776 F.2d 51, 54-55 (2d Cir. 1985).

                 The presumption means that the Court must initially assume there is “no condition
or combination of conditions that will reasonably assure the appearance of the person as required
and the safety of the community.” 18 U.S.C. § 3124(e)(3). The defendant may rebut this
presumption by coming “forward with evidence that he does not pose a danger to the community
or a risk of flight.” United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001) (per curiam). If
this burden of production is satisfied, the government retains the burden of persuasion by clear
and convincing evidence that the defendant presents a danger to the community and by a
preponderance of the evidence that the defendant presents a risk of flight. See 18 U.S.C.


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§ 3142(f); Mercedes, 254 F.3d at 436; United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987);
United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985).

                The concept of “dangerousness” encompasses not only the effect of a defendant’s
release on the safety of identifiable individuals, such as witnesses, but also “‘the danger that the
defendant might engage in criminal activity to the detriment of the community.’” United States
v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting legislative history). Indeed—and
significantly—danger to the community includes “the harm to society caused by [the likelihood
of continued] narcotics trafficking.” United States v. Leon, 766 F.2d 77, 81 (2d Cir. 1985). In
considering risk of flight, courts have found that where the evidence of guilt is strong, it provides
“a considerable incentive to flee,” United States v. Millan, 4 F.3d 1038, 1046 (2d Cir. 1993), as
does the possibility of a severe sentence, see Jackson, 823 F.2d at 7; United States v. Martir, 782
F.2d 1141, 1147 (2d Cir. 1986) (defendants charged with serious offenses with significant
maximum terms had potent incentives to flee); see also United States v. Cisneros, 328 F.3d 610,
618 (10th Cir. 2003) (defendant was flight risk because her knowledge of seriousness of charges
against her gave her strong incentive to abscond to Mexico).

                Courts consider several factors in making the determination of whether pretrial
detention is appropriate: (1) the nature and circumstances of the crime charged; (2) the weight of
the evidence against the defendant; (3) the history and characteristics of the defendant, including
family ties, employment, financial resources, community ties, and past conduct; and (4) the
nature and seriousness of the danger to any person or the community that would be posed by
release. See 18 U.S.C. § 3142(g). Even where the defendant has met his burden of production to
rebut the statutory presumption in favor of detention, the presumption also remains a factor for
the Court to consider. Mercedes, 254 F.3d at 436.

II.    A Presumption of Detention Applies

              This case involves offenses for which there is a presumption that no condition or
combination of conditions will reasonably assure the defendant’s appearance or the safety of the
community. See 18 U.S.C. § 3142(e)(3). Specifically, because the defendant is charged with
multiple counts under the Controlled Substances Import and Export Act that carry extensive
punishments, he is presumed to pose a danger to the community and a risk of flight.
Accordingly, the defendant bears the initial burden of showing that he is not a danger to the
community or a flight risk. For the reasons set forth below, the defendant cannot sustain that
burden.

III.   Caro Quintero Is a Danger to the Community

               The facts and circumstances of this case compel the defendant’s detention, as the
relevant Bail Reform Act factors show that he poses an extraordinary danger to the community.

                The counts with which the defendant is charged—leading a continuing criminal
enterprise, participating in an international narcotics importation and distribution conspiracy and
carrying firearms in furtherance of that conspiracy—are extremely serious. The top count carries
a mandatory minimum sentence of life imprisonment, with the possibility of the death penalty, if
the defendant is convicted, while each of the other counts carries a 10-year mandatory minimum



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prison sentence. See 21 U.S.C. §§ 848, 960(b)(1)(A), 960(b)(1)(B)(ii), 960(b)(1)(G) and
960(b)(1)(H); 18 U.S.C. § 924(c).

                For more than four decades, the defendant personally led a prolific drug
trafficking organization that was first part of the Guadalajara Cartel and later the Sinaloa Cartel,
two of the most powerful drug trafficking cartels the world has ever seen. The defendant
oversaw the production of many thousands of kilograms of marijuana on sprawling plantations.
Eventually, the Caro Quintero DTO started to traffic large amounts of cocaine, heroin, and
methamphetamine, extending the wealth and power of the organization. And to protect his
operation, the defendant used violence freely. In addition to ordering beatings and executions of
workers suspected of stealing or being disloyal, the defendant went so far as to participate in the
kidnapping, torture, and murder of a DEA agent. Yet even after his conviction by a Mexican
court for several murders, the defendant continued to lead the Caro Quintero DTO from prison,
directing others through intermediaries. And after the defendant’s release from prison in 2013,
he led the organization from the mountains of Sinaloa, all while going to great lengths to avoid
detection and capture. Indeed, in 2016, the defendant ordered the murder of an individual who
he believed to be cooperating against him.

                Put simply, the defendant is one of the most significant drug traffickers of the
modern era. The defendant earned his nickname “El Narco de Narcos” through the pioneering
role he occupied in establishing the Guadalajara Cartel, which later became the Sinaloa Cartel.
During his decades of drug trafficking, the defendant not only flooded American streets with
large amounts of cocaine, marijuana, methamphetamine, and heroin, but he also used murder as a
tool to protect his organization. Because no combination of release conditions can adequately
protect the community from the defendant, he should be ordered detained pending trial.

IV.    Caro Quintero Poses a Significant Risk of Flight

                 Similarly, the defendant cannot overcome the presumption that he is a risk of
flight, for several reasons.

                 First, all of the counts charged in the S-3 Indictment against the defendant carry
a significant punishment. Indeed, if convicted of Count One, the defendant’s minimum term of
imprisonment will be life, and if convicted, he may face the death penalty. Given the significant
consequences that the defendant faces upon conviction, he has a strong incentive to flee the
jurisdiction. See Jackson, 823 F.2d at 7 (prospect of severe sentence creates incentive to flee);
Martir, 782 F.2d at 1147 (charges with significant maximum terms created potent incentive to
flee); Cisneros, 328 F.3d at 618 (seriousness of charges gave defendant strong incentive to
abscond).

                  Second, the defendant has previously fled from prosecution for an extended
period. Between 2013 and 2022, the defendant lived in the mountains of Sinaloa, moving
between safehouses and relying on his underlings to protect him from capture. The defendant
avoided using phones and arranged for meetings through intermediaries at remote locations,
illustrating the steps he is willing to take to avoid prosecution.




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                 Third, the defendant’s personal history and characteristics demonstrate that he is a
significant flight risk. The defendant has no known personal ties to the United States and has
been brought to the United States for the sole purpose of facing criminal prosecution. He has no
legal status in this country. Given his absence of any connection to the United States (aside from
his drug trafficking activities) and his extensive ties to Mexico, the defendant constitutes a
significant risk of flight.

                                          CONCLUSION

               For the foregoing reasons, the government respectfully requests that the Court
order the defendant to be detained permanently pending trial, as there is no condition or
combination of conditions that could reasonably assure the safety of the community or the
defendant’s appearance at trial.

                                                      Respectfully submitted,

                                                      JOHN J. DURHAM
                                                      United States Attorney

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